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                                                                                        U.S. DISTRICT COURT
                                                                                            N.D. OF ALABAMA


                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                WESTERN DIVISION


    SCP TUSCALOOSA, LLC,                      )
                                              )
              Plaintiff,                      )
                                              )
    v.                                        )         7:17-cv-00228-LSC
                                              )
    UNIVERSITY HOUSE                          )
    TUSCALOOSA, LLC, et al.,                  )
                                              )
              Defendants.                     )

                                 MEMORANDUM OF OPINION

              Before the Court is Defendants University House Tuscaloosa, LLC

(“UHT”) and Scion Group, LLC’s (“Scion”) (collectively “Defendants”) motion

for summary judgment. (Doc. 67.) The motion has been briefed and is ripe

for review. For the reasons stated below, Defendants’ motion for summary

judgment (doc. 67) is due to be GRANTED in PART and DENIED in PART.

         I.     BACKGROUND 1


1      The facts set out in this opinion are gleaned from the parties’ submissions of facts
claimed to be undisputed, their respective responses to those submissions, and the
Court’s own examination of the evidentiary record. These are the “facts” for summary
judgment purposes only. They may not be the actual facts. See Cox v. Adm'r U.S. Steel
& Carnegie Pension Fund, 17 F.3d 1386, 1400 (11th Cir. 1994). The Court is not required
to identify unreferenced evidence supporting a party’s position. As such, review is limited
to exhibits and specific portions of the exhibits specifically cited by the parties. See
Chavez v. Sec’y, Fla. Dept. of Corr., 647 F.3d 1057, 1061 (11th Cir. 2011) (“[D]istrict court
judges are not required to ferret out delectable facts buried in a massive record . . . .”)
(internal quotations omitted). These facts are taken from the parties’ “Undisputed Material
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      This case arises from an agreement between Plaintiff SCP

Tuscaloosa, LLC (“SCP”) and University House Communities Acquisitions,

LLC (“UHC”) for the sale of a student housing apartment community known

as “South 10” in Tuscaloosa, Alabama. On July 2, 2015, pursuant to a

Purchase Sale Agreement (the “PSA”), UHC acquired South 10 from SCP

for $56,625,000.00. Approximately two months later, UHC assigned its rights

and obligations under the PSA to Defendant UHT.

      The PSA provided that “[i]n addition to the Purchase Price [SCP] shall

have the right to earn additional compensation” for finding tenants that

executed leases for South 10’s vacant retail spaces. (See Doc. 69-2 at 10.)

According to the terms of the PSA, this agreement was to be memorialized

in a separate Earn-Out Agreement. SCP and UHT executed the Earn-Out

Agreement on October 1, 2015. Under the Earn-Out Agreement, SCP was

entitled to receive compensation for any leases executed with retail tenants

at the time of closing as well as for any leases with tenants that were signed

within eighteen months of the time of closing (the “Earn-Out Period”). SCP

could also receive compensation if, within ninety days after the Earn-Out


Facts” sections of the parties’ pleadings in support of and opposing summary judgment.
While the parties dispute the relevance and materiality of some of the facts contained
herein, they agree that they are undisputed, unless otherwise noted. The Court views the
facts in the light most favorable to the non-moving party. Chavez v. Mercantil
Commercebank, N.A., 701 F.3d 896, 899 (11th Cir. 2012).

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Period expired, UHT entered into a lease with a tenant that SCP had been

actively negotiating with during the Earn-Out Period. Specifically, the Earn-

Out Agreement stated:

     During the Earn-Out Period, SCP on [UHT’s] behalf, shall have
     the non-exclusive right together with [UHT], its agents and
     brokers, to market the Vacant Retail Space, and to negotiate and
     reach preliminary agreement with prospective retail tenants as to
     the definitive lease terms for new Retail Leases for the Vacant
     Retail Space . . ., which definitive lease terms must comply [with]
     the requirements of this Agreement, including, but not limited to,
     the retail leasing criteria set forth on Exhibit B attached hereto
     . . . except as approved by [UHT]

(See Doc. 69-4 at 3.) It also required UHT to execute all compliant retail

space leases: “[UHT] shall be obligated to enter all Vacant Space Leases

that shall comply with the provisions of this Agreement, including, but not

limited to, the Retail Leasing Criteria.” (See id.) While the Earn-Out

Agreement specified deadlines for certain matters, such as delivery of

payment, and stated that “time is of the essence,” it did not provide a

deadline by which UHT had to execute a complying lease forwarded by SCP.

     Any costs of improvement of the retail space, including leasing

commissions and locator fees, fell upon SCP up to a certain amount per

square-foot. During the Earn-Out Period, SCP incurred approximately

$430,000 in improvement costs after it contracted with Genoa Construction

to complete build-out work at South 10.


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      In December 2015, a prospective tenant, BOBA, contacted Joe

Strauss (“Strauss”), a real estate agent working on behalf of SCP, and

expressed interest in leasing space at South 10. BOBA’s representatives,

two college students, wanted to use the retail space as a small coffee shop.

On April 12, 2016, BOBA executed a letter of intent, which stated that it

contained the basic terms and conditions upon which UHT would be willing

to enter a formal lease with BOBA. The letter of intent included two

contingencies: (1) UHT’s approval of BOBA and its guarantor’s financial

statement; and (2) the mutual execution of a lease document. A few days

after the execution of the letter of intent, BOBA sent Strauss its financial

statement, which consisted of the students’ “parents’ partial saving deposits

from three major banks in China.” (See Doc. 70-3 at 4.)

      On April 22, 2016, SCP sent UHT an email attaching: (1) a standard

form lease modified for the South 10 project; (2) the BOBA letter of intent;

and (3) a form lease modified to the BOBA letter of intent. (See Doc. 70-4.)

Sometime prior to April 27, 2016, Jeff Lohmann, a UHT employee, told SCP’s

Vice President Charles Welch (“Welch”) that Defendant Scion would need to

review these documents.2 In a May 3rd email with Welch, Lohmann stated



2     The record is unclear as to why, in April 2016, UHT told SCP that Scion’s approval
was necessary. Although UHT employees knew, as of January 2016, that preparations
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that “the lease form you sent is fine.” (See Doc. 70-6 at 2.) On June 21,

2016, Scion entered into a Property Management Agreement with UHT, with

respect to South 10. Among Scion’s duties under the Property Management

Agreement is to “take . . . actions in the name of and on behalf of [UHT] that

are customarily within the scope of property management and leasing

services for properties of a similar type, size and quality to the Property . . . .”

(See Doc. 69-6 at 11.)

      After Lohmann’s May 3rd email, SCP continued to negotiate the terms

of the lease with BOBA. On June 6, 2016, SCP sent a revised lease to BOBA,

which BOBA executed by June 10th. On June 13, 2016, Welch forwarded

the revised lease to UHT along with a “redline[] against the original form

lease.” (See Doc. 72-1 at 3.) Mitchell Smith (“Smith”), Scion’s Chief

Operating Officer, contacted Welch on July 15, 2016 and asked that he

forward him the BOBA lease so that Scion’s counsel could review it. Once it

reviewed the BOBA lease, Scion provided SCP with a redlined version of the

lease, which included Defendants’ revisions and comments, and requested

a copy of BOBA’s guarantor’s financial statements. After some back and

forth between Welch and Scion regarding the need to continue to negotiate



were underway for Scion to manage UHT, Scion did not have any formal relationship with
UHT prior to June 2016. (See Doc. 69-5 at 12.)


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the terms of the lease, Welch sent Scion’s revisions to Strauss and BOBA

on August 4, 2016. That same day, Welch provided UHT with U.S. bank

statements from BOBA, which indicated that BOBA’s owners had around

$40,000 in funds within their personal bank accounts.

      SCP received the revised executed lease from BOBA on August 26,

2016. Welch then mailed the lease to Scion. The lease arrived at Scion on

September 9, 2016, but was not discovered by Scion until September 21st

because Welch sent the lease in a non-descript white plan tube and FedEx

delivered the lease to Smith’s office while he was out of town. Once Scion

located the revised lease, it contacted SCP and requested a summary of

Tuscaloosa’s retail market so that it could show its investors how BOBA’s

lease terms compared to other retail spaces in Tuscaloosa. On October 6,

Scion asked for clearer copies of BOBA’s financial statements. On October

13, 2016, one of BOBA’s founders emailed Strauss to inform him that it was

no longer interested in leasing space at South 10. Later that day, Strauss

forwarded the email to Welch stating that “[t]his deal took way too long to get

any responses.” (See Doc. 73-8 at 2.) Welch, however, did not inform

Defendants that BOBA had withdrawn its interest in the lease, and Scion

eventually executed the BOBA lease on November 4, 2016.




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      During the time SCP and Scion were negotiating the BOBA lease,

another SCP real estate agent, Tracy Gatewood (“Gatewood”), was actively

searching for potential retail tenants for South 10. On December 2, 2016,

Waitr, an online restaurant delivery service, contacted Gatewood about its

interest in a potential lease. Welch sent a Waitr letter of intent to Scion on

February 17, 2017. On February 22, 2017, Scion emailed Waitr a reply to

the letter of intent, which included a cover letter, signed letter of intent, and

signed addendum to the letter of intent. One way in which the addendum

differed from the letter of intent was that it stated that a general contractor

would “perform all Tenant improvements, under a contract between Tenant

and the contractor” (See Doc. 74-3 at 7.).

      On March 7, 2017, Waitr informed its retail broker that it had decided

to move on from South 10 and look elsewhere for retail space. The reason

given for Waitr’s withdrawal was that “[w]e don’t want to have to hire our own

contractors etc.” (See Doc. 74-4 at 3.) However, on March 21, 2017, Waitr

sent its retail broker final architectural drawings of the South 10 space, which

led Gatewood to believe that negotiations with Waitr were back on track.

Moreover, when the Earn-Out Period expired on April 1, 2017, SCP listed

Waitr as one of the potential tenants with which it was actively negotiating.

But by May 2017 it was apparent to Gatewood and SCP that Waitr would not


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be leasing space at South 10. Waitr eventually moved its business to

Birmingham, Alabama, and as of January 2019, no retail tenant had leased

space at South 10.

    II.     STANDARD

          Summary judgment is appropriate “if the movant shows that there is

no genuine dispute as to any material fact 3 and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). A dispute is genuine if

“the record taken as a whole could lead a rational trier of fact to find for the

nonmoving party.” Hickson Corp. v. N. Crossarm Co., Inc., 357 F.3d 1256,

1260 (11th Cir. 2004). A genuine dispute as to a material fact exists “if the

nonmoving party has produced evidence such that a reasonable factfinder

could return a verdict in its favor.” Greenberg v. BellSouth Telecomms., Inc.,

498 F.3d 1258, 1263 (11th Cir. 2007) (quoting Waddell v. Valley Forge

Dental Assocs., 276 F.3d 1275, 1279 (11th Cir. 2001)). The trial judge should

not weigh the evidence, but determine whether there are any genuine issues

of fact that should be resolved at trial. Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 249 (1986).




3     A material fact is one that “might affect the outcome of the case.” Urquilla-Diaz v.
Kaplan Univ., 780 F.3d 1039, 1049 (11th Cir. 2015).
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     In considering a motion for summary judgment, trial courts must give

deference to the non-moving party by “view[ing] the materials presented and

all factual inferences in the light most favorable to the nonmoving party.”

Animal Legal Def. Fund v. U.S. Dep’t of Agric., 789 F.3d 1206, 1213–14 (11th

Cir. 2015) (citing Adickes v. S.H. Kress & Co., 398 U.S. 144, 157 (1970)).

However, “unsubstantiated assertions alone are not enough to withstand a

motion for summary judgment.” Rollins v. TechSouth, Inc., 833 F.2d 1525,

1529 (11th Cir. 1987). Conclusory allegations and “mere scintilla of evidence

in support of the nonmoving party will not suffice to overcome a motion for

summary judgment.” Melton v. Abston, 841 F.3d 1207, 1219 (11th Cir. 2016)

(per curiam) (quoting Young v. City of Palm Bay, Fla., 358 F.3d 859, 860

(11th Cir. 2004)). In making a motion for summary judgment, “the moving

party has the burden of either negating an essential element of the

nonmoving party’s case or showing that there is no evidence to prove a fact

necessary to the nonmoving party’s case.” McGee v. Sentinel Offender

Servs., LLC, 719 F.3d 1236, 1242 (11th Cir. 2013). Although the trial courts

must use caution when granting motions for summary judgment, “[s]ummary

judgment procedure is properly regarded not as a disfavored procedural

shortcut, but rather as an integral part of the Federal Rules as a whole.”

Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986).


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   III.      DISCUSSION

          As an initial matter, the Court will address Defendants’ request that all

of SCP’s asserted facts be stricken. Rather than respond to Defendants’

statement of undisputed material facts, SCP admitted Defendants’ facts and

supplemented those facts with its own statement of facts. Moreover, SCP

has dispersed various factual assertions throughout its brief opposing

summary judgment that are not contained within its supplemental statement

of facts. SCP’s failure to include these factual assertions within a discrete

section of its brief does not comply with the Uniform Initial Order entered in

this case. (See Doc. 13 at 16–17.) Because SCP has stated that it accepts

Defendants’ statement of undisputed facts, the Court considers these facts

to be true. However, the Court still must view this evidence in the light most

favorable to SCP. Regarding the other pertinent portions of the record, the

Court has used its discretion in making findings of fact. The Court notes that

the factual assertions made by SCP throughout its brief are generally

consistent with Defendants’ facts.

          Turning to the merits of Defendants’ summary judgment motion, SCP

brings claims for breach of express contract, negligence, unjust enrichment,

and fraudulent suppression against Defendant UHT. It brings claims for




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breach of implied contract and negligence against Defendant Scion.

Defendants have moved for summary judgment on all claims.

     A.        Breach of Express Contract

     In order to be successful on its breach of express contract claims, SCP

must demonstrate (1) a valid contract binding the parties; (2) its own

performance under the contract; (3) UHT’s nonperformance under the

contract; and (4) resulting damages. See Barrett v. Radjabi-Mougadem, 39

So. 3d 95, 98 (Ala. 2009). While UHT concedes that the Earn-Out Agreement

constituted a valid contract, it asserts that SCP has failed to show that its

actions breached that contract’s terms.

          1.     BOBA Lease

     SCP alleges that UHT breached the Earn-Out Agreement by failing to

execute the BOBA lease in a timely manner. The Earn-Out Agreement

provides that UHT was “obligated to enter all Vacant Space Leases that shall

comply with the provisions of this Agreement.” (See Doc. 69-4 at 3.) Under

Alabama law, where, as here, “a contractual obligation to perform exists, and

no time is prescribed in the contract for performance, the law requires the

obligated party to perform within a ‘reasonable time.’” Grand Harbour Dev.,

LLC v. Lattof, 127 So. 3d 1230, 1240 (Ala. Civ. App. 2013) (quoting Lemon

v. Golf Terrace Owners Ass’n, 611 So. 2d 263, 265 (Ala. 1992)). “[T]he


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determination of a ‘reasonable time’ is a question of fact and ‘depends upon

the nature of the act to be done and all the circumstances relating to the act.’”

Id. (quoting Gray v. Reynolds, 553 So. 2d 79, 82 (Ala. 1989)).

      UHT argues that there can be no dispute that it executed the BOBA

lease within a reasonable time. The Court disagrees. As the determination

of what constitutes a reasonable time is a question of fact, it is for the trier of

fact to decide. Here, the trier of fact could find that the amount of time it took

Defendants to execute the BOBA lease was unreasonable. While SCP sent

UHT the revised, compliant BOBA lease on June 13, 2016, Scion did not

approve the lease until August 9, 2016. This approval only occurred after

Scion made several changes to the lease. Moreover, even after Scion

received BOBA’s assent to its lease modifications on September 21, 2016,

it did not immediately execute the BOBA lease. Instead, it asked SCP to

provide it with a summary of the Tuscaloosa retail market and clearer copies

of the BOBA financial statements. Although Defendants contend that it was

reasonable to wait to execute the BOBA lease until they obtained more

legible financial statements, Scion eventually executed the lease on

November 4, 2016 without having ever received the requested financial

statements. This suggests that the lack of a legible financial statement is not

what caused the delay in execution. Thus, the trier of fact could find that, due


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to the actions of its agent Scion, UHT failed to execute the BOBA lease in a

timely manner and that this is what caused BOBA to withdraw from the lease

agreement.

      Alternatively, UHT argues that SCP acquiesced in any delay in

execution of the BOBA lease and thus cannot now claim that this delay

breached the terms of the Earn-Out Agreement. An intent to waive a right

“may be found where one’s course of conduct indicates the same or is

inconsistent with any other intention.” See Hughes v. Mitchell Co., Inc., 49

So. 3d 192, 202 (Ala. 2010) (quoting Stewart v. Bradley, 15 So. 3d 533, 543

(Ala. Civ. App. 2008)). The Court concludes that whether SCP waived its

right to timely execution of the BOBA lease is a question of fact.

      To support their assertion that SCP acquiesced in the delay in

execution, Defendants point out that SCP permitted Scion to review and

revise the lease, provided Scion with the requested information about the

Tuscaloosa retail market, and agreed to ask BOBA for more legible copies

of its guarantors’ financial statements. This evidence is insufficient to support

a finding that, as a matter of law, SCP agreed to allow the Defendants to

take as long as they did to review the BOBA lease. UHT directed SCP to

submit the BOBA lease to Scion for review, and Scion was the one who said

that the lease would not be executed absent receipt of the Tuscaloosa retail


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market information and more legible financial statements. Thus, viewing the

evidence in the light most favorable to SCP, it appears that Defendants were

the only ones hampering the execution of the BOBA lease.

      Moreover, other evidence suggests that SCP did not consent to

Defendants’ delay and in fact objected to Scion’s requests. For example,

after Scion sent its proposed revisions to Welch, he replied by asking Scion

to minimize any changes to the BOBA lease and noting that BOBA had “been

very patiently awaiting a lease signature for over six weeks.” (See Doc. 72-

4 at 4.) Indeed, the emails between Welch and Scion indicate that Welch

only agreed to Scion’s proposed course of action in an attempt to resolve

issues that Scion had with the BOBA lease so the lease could be executed

more quickly. Viewing this evidence in the light most favorable to SCP, its

conduct did not waive its right to have the BOBA lease executed in a timely

manner. Accordingly, UHT’s motion for summary judgment on the BOBA-

related breach of contract claim is due to be denied.

         2.    Waitr Lease

      SCP also alleges that UHT breached the Earn-Out Agreement when

Scion sent the proposed addendum to the Waitr letter of intent. The Earn-

Out Agreement provides that “[d]uring the Earn-Out Period, SCP, on [UHT’s]

behalf, shall have the non-exclusive right, together with [UHT], its agents and


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brokers, to market the Vacant Retail Space, and to negotiate and reach

preliminary agreement with prospective retail tenants.” (See Doc. 69-4 at 3.)

It goes on to say that:

      Neither SCP nor [any agent of SCP] shall have any authority to
      execute any letter of intent on behalf of [UHT], Vacant Space
      Lease or any other definitive or binding agreement binding [UHT]
      with respect to the leasing of any Vacant Retail Space, the
      parties agreeing that only [UHT] or its designated representative
      will execute all such definitive and binding agreements with
      respect to the leasing of any Vacant Retail Space, including any
      Vacant Space Leases, once SCP has negotiated, on behalf of
      [UHT], the definitive lease terms for any new Vacant Space
      Lease. [UHT] shall be obligated to enter all Vacant Space Leases
      that shall comply with the provisions of this Agreement.

(See id.)

      The parties dispute the meaning of these provisions and whether they

prevented Defendants from negotiating with Waitr. According to UHT, as the

Earn-Out Agreement gave it and its agents the right to negotiate with

prospective tenants, having Scion send the proposed addendum to Waitr

complied with the Earn-Out Agreement’s terms. SCP disagrees and argues

that once it presented Defendants with the letter of intent containing the

compliant Waitr terms that the Earn-Out Agreement prevented Defendants

from attempting to reach a different agreement with Waitr regarding those

compliant terms.




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     The Court finds that the plain text of the Earn-Out Agreement does not

unambiguously indicate which interpretation is correct. See Nunnelley v. GE

Capital Info. Tech. Solutions-North America, 730 So. 2d 238, 241 (Ala. Civ.

App. 1999) (“Whether a contract is ambiguous is a question of law for the

trial judge.”). Although SCP’s right to negotiate and reach a preliminary

agreement was nonexclusive, the Earn-Out Agreement does not specifically

address UHT and its agents’ obligations to honor any preliminary agreement

reached between SCP and a prospective tenant. One possible interpretation

of the Earn-Out Agreement is that, because SCP’s right to negotiate was

nonexclusive, UHT and its agents were free to continue negotiating with a

prospective tenant even after SCP had reached a preliminary agreement

with the tenant about certain lease terms. Another possible interpretation is

that, because SCP had the right to reach a preliminary agreement with

prospective tenants, Defendants could not alter the terms of any such

agreement if those terms complied with the Earn-Out Agreement’s

requirements. This ambiguity presents a question of material fact as to

whether Scion’s negotiations with Waitr violated the Earn-Out Agreement.

See Whitetail Dev. Corp. v. Nickelson, 689 So. 2d 865, 867 (Ala. Civ. App.

1996) (“When the terms of a contract are ambiguous in any way, however,




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the determination of the true meaning of that contract is a question of fact for

the finder of fact.”). 4

       UHT also argues that SCP cannot succeed on its Waitr-related breach

of contract claim because there is no evidence that Scion’s proposed

addendum is what caused Waitr to back out of the lease negotiations. The

Court disagrees and concludes that there is sufficient evidence to find that

Waitr backed out of the South 10 deal due to the proposed addendum. On

March 7, 2017, Waitr’s CEO emailed his real estate broker to inform him that

Waitr no longer wanted to rent space at South 10. The reason given for

Waitr’s withdrawal was that “[w]e don’t want to have to hire our own

contractors etc.” (See Doc. 74-4 at 3.)

       The Scion addendum provided that UHT would “assist in arranging a

general contractor to perform all Tenant improvements, under a contract

between Tenant and the contractor. Landlord will reimburse Tenant for

Landlord’s contribution of $25,000 toward the improvements cost upon

Tenant furnishing proof of payment and final lien waivers for all contractor

work.” (Doc. 74-3 at 7.) This differed from the terms of the original letter of


4       Defendants attempt to make much of the fact that both parties understood that the
Earn-Out Agreement permitted tenant-specific negotiations. This evidence, however,
does not go toward whether the Earn-Out Agreement allowed Defendants to attempt to
alter the terms of a preliminary agreement that had been reached between SCP and a
prospective tenant.


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intent which stated that: “Tenant has no experience in building out tenant

improvements in a leased space. The tenant asks that the Landlord’s (or

SCP Tuscaloosa, LLC’s) contractor perform the Tenant improvements.” (Id.

at 5.) After receiving notice of Waitr’s March 7th email, Gatewood interpreted

the statement “we don’t want to have to hire our own contractors” to be a

reference to Waitr’s dissatisfaction with the addendum’s proposal that Waitr

enter into a contract with a general contractor to perform improvements on

the retail space. (See Doc. 74-5 at 2.) The Court agrees with SCP that it is

at least arguable that this proposal is what caused Waitr to send the March

7th email.

      Moreover, SCP has presented evidence that could support a finding

that Waitr’s dissatisfaction with this proposal is what ultimately caused it to

not rent space at South 10, but instead, move its business to Birmingham.

To be sure, it is undisputed that Waitr continued negotiations with SCP after

the March 7th email. On March 21, 2017, Waitr sent final architectural

drawings of the proposed South 10 space to its real estate broker and asked

him “[h]ow do we get this [deal] to completion?” (See Doc. 74-6 at 2.)

Additionally, when the Earn-Out Agreement expired, on April 1, 2017, SCP

included Waitr in the list of potential tenants with which it was actively

negotiating. However, by May 2017, it was clear that Waitr would not be


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leasing space at South 10. At that time, Waitr did not provide SCP with the

reason for its withdrawal. Instead, the only rationale Waitr ever provided for

its reluctance to rent space at South 10 was its prior statement that “[w]e

don’t want to have to hire our own contractors.” (See Doc. 74-4 at 3.) Viewing

the evidence in the light most favorable to SCP, the Court cannot say, as a

matter of law, that something other than the proposed addendum must have

caused Waitr to withdraw its interest in South 10. Accordingly, UHT’s motion

for summary judgment on the Waitr-related breach of contract claim is due

to be denied.

      B.   Breach of Implied Contract

      SCP brings breach of implied contract claims against Scion regarding

the BOBA and Waitr transactions. Under Alabama law, a party cannot

recover under a theory of implied contract when an express contract governs

the same subject matter. See Vardaman v. Florence City Bd. of Educ., 544

So. 2d 962, 965 (Ala. 1989). Here, SCP does not dispute that its breach of

implied contract claims against Scion are based on the failure to execute

retail leases during the Earn-Out Period, which is governed by the Earn-Out

Agreement. Instead, SCP states that “[w]hen UHT assigned the

management duties to Scion . . . Scion became bound by [the Earn-Out

Agreement].” (See Doc. 75 at 32.) This argument, however, is contrary to


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Alabama law. SCP cannot succeed on a breach of implied contract claim

where an express contract governs the transaction at issue. Although Scion

was not a party to the Earn-Out Agreement, its only connection with SCP

was through the Earn-Out Agreement between SCP and UHT, and it is

alleged violations of the terms of this agreement that SCP seeks to hold

Scion liable for. As it is undisputed that an express contract governed how

leases were to be executed during the Earn-Out Period, SCP is precluded

from bringing a breach of implied contract claim based on Scion’s failure to

execute those leases.

      Even if this were not the case, SCP’s breach of implied contract claims

against Scion would still fail as a matter of law. As Defendants argue, “agents

cannot be held liable for a principal’s breach of contract.” Harrell v. Reynolds

Metals Co., 495 So. 2d 1381, 1389 (Ala. 1986). It is undisputed that Scion’s

only role in executing the retail leases was to act as UHT’s property

management agent. Pursuant to the Property Management Agreement,

Scion was to take actions on behalf of UHT, which is what it did when it

reviewed both the BOBA and Waitr leases. Scion was not a party to the Earn-

Out Agreement, and thus, unlike UHT, it was not bound by the Earn-Out

Agreement’s terms. Therefore, Scion is entitled to summary judgment on

SCP’s implied breach of contract claims. See Money Mgmt. Servs., Inc. v.


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Porraro, 160 Fed. App’x 846, 847 (11th Cir. 2005) (applying Alabama law

and affirming summary judgment on breach of contract claim where

defendant’s only role in contract was to act as another party’s agent).

      C.    Negligence

      “To establish negligence, [a] plaintiff must prove: (1) a duty to a

foreseeable plaintiff; (2) a breach of that duty; (3) proximate causation; and

(4) damage or injury.” Martin v. Arnold, 643 So. 2d 564, 567 (Ala. 1994)

(citing Albert v. Hsu, 602 So. 2d 895, 897 (Ala. 1992)). Although “[i]t is

possible for a tort to arise in Alabama out of a breach of a duty implied by or

arising out of a contract, . . . an ordinary breach of contract will not give rise

to a tort.” Brown-Marx Assocs., Ltd. v. Emigrant Sav. Bank, 703 F.2d 1361,

1371 (11th Cir. 1983). Indeed, “a negligent failure to perform a contract . . .

is but a breach of the contract.” Vines v. Crescent Transit Co., 85 So. 2d 436,

440 (Ala. 1956). Thus, Defendants cannot be held liable under a negligence

theory of liability for merely failing to adhere to the Earn-Out Agreement’s

requirements.

      However, a breach of the implied duty to use reasonable skill and

diligence in performing a contractual duty can constitute negligence. See

Sherrill v. Ala. Appliance Co., 197 So. 1, 4 (Ala. 1940). Here, there is

sufficient evidence to find that UHT breached this duty. As SCP points out,


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Defendants delayed in executing the BOBA lease even though it was

compliant with the Earn-Out Agreement’s requirements. Defendants also

attempted to change the terms of the compliant Waitr letter of intent. Viewing

the evidence in the light most favorable to SCP, it is at least arguable that

UHT’s actions violated the implied duty to use reasonable skill and diligence

in performing a contractual duty. Moreover, although Scion was not a party

to the Earn-Out Agreement, its failure to timely approve the compliant lease

and letter of intent could be said to violate the duty to use due care in the

performance of a voluntary undertaking. See Beasley v. MacDonald

Engineering Co., 249 So. 2d 844, 846 (Ala. 1971) (“[W]hen a person

undertakes an employment, which requires care and skill, whether for reward

or not, a failure to exert the measure of care and skill appropriate to the

measure of such employment is negligence for which an action will lie.”

(internal quotations omitted).) As the Court finds that a question of fact exists

as to whether Defendants’ actions proximately caused SCP to lose out on

the compensation contemplated by the Earn-Out Agreement, Defendants’

motion for summary judgment on SCP’s negligence claim is due to be

denied.




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      D.    Unjust Enrichment

      SCP’s unjust enrichment claim is brought solely against UHT. “To

prevail on a claim of unjust enrichment under Alabama law, a plaintiff must

show that: (1) the defendant knowingly accepted and retained a benefit, (2)

provided by another, (3) who has a reasonable expectation of

compensation.” Matador Holdings, Inc. v. HoPo Realty Invs., LLC, 77 So. 3d

139, 145 (Ala. 2011) (quoting Portofino Seaport Vill., LLC v. Welch, 4 So. 3d

1095, 1098 (Ala. 2008)). Here, SCP bases its unjust enrichment claim on its

assertion that the only reason it spent the $430,000 in build-out expenses

was that it expected to recoup those costs by receiving Earn-Out Payments

after it procured tenants for South 10. According to Defendants, this

expectation was unreasonable.

      The Court cannot say, as a matter of law, that SCP’s expectation of

recouping the build-out costs was unreasonable. Although it is undisputed

that SCP incurred $400,000 of the $430,000 in costs prior to forwarding the

BOBA letter of intent to UHT, SCP knew of BOBA’s interest in South 10

several months before the build-out began. Moreover, even though at the

time SCP contracted for the build-out it had been unable to find a potential

tenant, there is evidence that SCP thought the build-out would make South

10 an attractive location for retail tenants. Based on this evidence, a trier of


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fact could find that it was reasonable for SCP to expect that after the build-

out occurred it would be able to attract tenants and recoup the costs of the

build-out through the Earn-Out Payments.

      Nonetheless, SCP’s unjust enrichment claim fails as a matter of law.

“The doctrine of unjust enrichment is an old equitable remedy permitting the

court in equity and good conscience to disallow one to be unjustly enriched

at the expense of another.” Flying J Fish Farm v. Peoples Bank of

Greensboro, 12 So. 3d 1185, 1193 (Ala. 2008) (cleaned up). As with claims

for breach of an implied contract, the doctrine of unjust enrichment does not

generally apply where there is an express contract between the parties

governing the same subject matter. See Mantiply v. Mantiply, 951 So. 2d

638, 656 (Ala. 2006) (“[W]hen an express contract exists, an argument based

on a quantum meruit recovery in regard to an implied contract fails.” (quoting

Brannan & Guy, P.C. v. City of Montgomery, 828 So. 2d 914, 921 (Ala.

2002))).

     Here, it is undisputed that the Earn-Out Agreement governed SCP’s

relationship with UHT. Indeed, SCP bases its unjust enrichment claim on the

fact that it spent the $430,000 in build-out costs “rel[ying] on UHT to follow

the requirements of the [Earn-Out Agreement] and deal with [SCP] in good

faith as that contract called for.” (See Doc. 75 at 29.) Thus, while SCP


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contends that UHT did not comply with the Earn-Out Agreement’s

requirements, it admits that the Earn-Out Agreement’s terms governed its

ability to recoup the build-out costs. If successful on its breach of contract

claims, SCP will certainly claim this expense as part of its damages.

Moreover, neither party questions whether the Earn-Out Agreement

constituted a valid contract. Instead, their dispute centers on whether UHT

failed to adhere to the Earn-Out Agreement’s provisions. Accordingly, there

is no need for the equitable doctrine of unjust enrichment to fill any gap

created by the lack of an enforceable contract, and UHT is entitled to

summary judgment on SCP’s unjust enrichment claim.

      E.    Fraudulent Suppression

      Finally, SCP brings a fraudulent suppression claim against UHT. To

succeed on a fraudulent suppression claim, a plaintiff must demonstrate: “(1)

a duty on the part of the defendant to disclose facts; (2) concealment or

nondisclosure of material facts by the defendant; (3) inducement of the

plaintiff to act; (4) action by the plaintiff to his or her injury.” Freightliner,

L.L.C. v. Whatley Contract Carriers, L.L.C., 932 So. 2d 883, 891 (Ala. 2005)

(quoting Lambert v. Mail Handlers Benefit Plan, 682 So. 2d 61, 63 (Ala.

1996)). SCP’s fraudulent suppression claim relates to whether UHT had a

duty to qualify Lohmann’s statement “the form lease you sent is fine” with


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other, relevant information. There are two categories of facts that SCP

alleges UHT failed to disclose. First, SCP asserts that UHT never informed

it of the management agreement with Scion or of Scion’s role in approving

leases.5 SCP also states that UHT failed to disclose that the BOBA lease

form submitted for approval was deficient and would not be approved in its

current form or that approved guarantors were required.

      UHT argues that it is entitled to summary judgment on SCP’s

fraudulent suppression claim for two reasons: (1) it did not conceal any

material fact from SCP; and (2) even if it did, SCP cannot demonstrate that

it detrimentally relied on the suppression of these facts. The Court agrees

that UHT did not conceal from SCP that the BOBA and Waitr leases would

be reviewed by Scion. It is undisputed that sometime before April 27, 2016

Lohmann, acting on behalf of UHT, told Welch that Scion would need to look

over the BOBA documents. Welch acknowledged that the BOBA lease would

not be executed prior to Scion’s review when he stated that he was

“concerned about the timeline of the review by Scion” because Lohmann

“indicated they haven’t been incredibly swift to respond to some things.” (See


5     Specifically, SCP alleges that UHT failed to inform it that: (1) there was an
agreement for Scion to manage South 10; (2) that Scion was assigned the obligations
and duties under the Earn-Out Agreement and became a successor to UHT; (3) that
UHT and Scion would require their approval of any tenant and lease, notwithstanding
UHT’s previous approval; and (4) that executing the lease would require Scion’s
stockholder approval. (See Doc. 75 at 28–29.)
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Doc. 70-5 at 2.) This conversation took place approximately a week before

Lohmann told Welch that “the lease form you sent is fine.” (See Doc. 70-6 at

2.) Thus, prior to receiving any indication that UHT had approved the BOBA

documents, SCP was made aware that the lease would also need to be sent

to Scion for its review.

      There is evidence, however, that SCP was never made aware that

Scion had entered into a management agreement with UHT, but instead,

was left under the impression that Scion had purchased, or was in the

process of purchasing, UHT. Indeed, it is unclear as to why, months before

Scion entered into the management agreement with UHT, SCP was told that

Scion would need to review the BOBA documents. Nonetheless, SCP has

not shown how UHT’s failure to disclose this information induced it to act

differently than it otherwise would have. SCP contracted with Genoa

Construction for the build-out work before it submitted the BOBA lease to

UHT for approval. Additionally, SCP has not shown how its initial

negotiations with BOBA, which took place between February and April 2016,

would have been conducted differently if it knew about the impending

management agreement between UHT and Scion.

      Moreover, when SCP was negotiating with BOBA in May and June of

2016, it had already been made aware that Scion would need to review the


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BOBA documents. SCP has not presented evidence of how it would have

acted differently if it knew that this review would be conducted by the

manager of UHT rather than UHT’s new owner. Thus, SCP cannot use these

undisclosed facts to support its suppression claim. 6

       The second category of facts that SCP asserts were suppressed relate

to its contention that Lohmann approved the BOBA lease in May 2016 but

did not inform SCP that the lease would not be executed unless it met

additional requirements. This Court previously found that Lohmann’s

statement that “the lease form you sent is fine” plausibly created a duty for

UHT to qualify that statement with information that the BOBA lease would

not be approved unless additional requirements were met. (See Doc. 23 at

22.) The Court’s reasoning was based on the allegations in SCP’s original

complaint that the terms of the June 13th BOBA lease forwarded to Scion

had been previously approved by Lohmann in May 2016. (See id.)

       Discovery has revealed, however, that after Lohmann’s email SCP and

BOBA made changes to the BOBA lease and that these changes were first

presented to Defendants in June 2016. Two of these alterations, a request


6      As there is no evidence that Scion became a successor to UHT under the Earn-
Out Agreement, SCP cannot use this allegation to support its suppression claim.
Moreover, it is undisputed that one of the contingencies listed in the BOBA letter of intent
was UHT’s approval of the BOBA’s guarantors’ financial statement. Thus, SCP can hardly
say that UHT suppressed the fact that the BOBA guarantors would be required to submit
proof of financial stability before a lease would be executed.
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to cap the growth of pass through expenses and a protected use provision,

were among the BOBA lease terms that Defendants sought to revise.

Because these provisions were not included in the May lease form, SCP

cannot base its fraudulent suppression claim on its assertion that UHT failed

to disclose that it would seek to alter these terms. Neither Lohmann nor

anyone else at UHT had any way of knowing that SCP would seek to add

these terms until they were included in the June 2016 lease. Once

Defendants reviewed the June 2016 BOBA lease, they informed SCP that

these provisions were unacceptable. Thus, there was no concealment.

     But there is sufficient evidence to support a finding that UHT

fraudulently suppressed that the form lease’s management fee, which Scion

sought to revise, was subject to alteration. Even when there is no

independent duty to disclose, “once a party elects to speak, he or she

assumes a duty not to suppress or conceal those facts that materially qualify

the facts already stated.” CNH Am., LLC v. Ligon Capital, LLC, 160 So. 3d

1195, 1202 (Ala. 2013) (quoting Freightliner, 932 So. 2d at 895). In May

2016, Lohmann, on behalf of UHT, told Welch that “the form lease was fine.”

This statement expressed UHT’s approval of the lease terms included within

the standard form lease. However, after it reviewed the June 2016 BOBA

lease, Scion sought to increase the management (or administrative) fee


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included in the standard form lease from 3% to 15%. Even though UHT

informed SCP in April 2016 that Scion would also be reviewing these

documents, there is no evidence that UHT ever informed SCP that Scion

may seek to change the standard form lease’s terms or fail to approve them.

Lohmann arguably had a duty to do so when he indicated that the standard

form lease’s terms were acceptable.

     There is also evidence that SCP relied on Lohmann’s statement by

keeping the management fee at 3% when it continued its negotiations with

BOBA in May and June of 2016. Welch responded to Scion’s revisions by

stating that “[i]ncreasing the management fee five-fold to an out of market

15% rate . . . seem[s] averse to getting to a lease.” (See Doc. 72-4.) BOBA

replied to Scion’s increased management fee by stating “[a]s the first tenant

going to move in the University House, we would like to change the

percentage of administrative fees charged to be 5%.” (See Doc. 73-2 at 3.)

On August 9, 2016, due to BOBA’s concerns, Defendants agreed to limit the

management fee to 5%. Accordingly, there is evidence that having a low

management     fee   was   important   to   these   negotiations   and   that

disagreements over Defendants’ increase in this fee at least somewhat

lengthened the amount of time it took to negotiate the BOBA lease.




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        However, there is no evidence to support SCP’s contention that it relied

on any concealment by UHT when it negotiated lease terms with Waitr. SCP

first began negotiating with Waitr in December 2016. This was after BOBA

had withdrawn its interest in the South 10 lease and Scion had executed the

BOBA lease. Thus, at the time it began the Waitr negotiations, SCP was well

aware of Scion’s role in executing leases and that Scion had previously made

changes to a lease sent for its approval. Accordingly, SCP cannot use

evidence related to Waitr to support its fraudulent suppression claim.

  IV.     CONCLUSION

        For the reasons stated above, Defendants’ motion for summary

judgment (doc. 67) is due to be GRANTED in PART and DENIED in PART.

An order consistent with this opinion will be entered contemporaneously

herewith.

        DONE and ORDERED on April 15, 2019.




                                          _____________________________
                                                  L. Scott Coogler
                                             United States District Judge
                                                                            194800




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